     Case 2:13-cr-00008-WFN        ECF No. 3898   filed 07/28/15   PageID.30995 Page 1 of 1




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 4                                UNITED STATES DISTRICT COURT

 5                              EASTERN DISTRICT OF WASHINGTON
 6   UNITED STATES OF AMERICA,
 7                                Plaintiff,            No.    2:13-CR-0008-WFN-11
 8              -vs-
                                                        ORDER PERMITTING REMOVAL OF
 9                                                      ELECTRONIC MONITORING
     BRANDON LEIGH CHAVEZ,
10
                                  Defendant.
11
12              Pending before the Court is Defendant's Motion for Removal of Electronic
13   Monitoring and Request to Permit Travel to Report to Prison. ECF No. 3879. Defendant
14   asks that his electronic monitoring device be removed before he drives to self-report to
15   Herlong, California. The Court has reviewed the file and Defendant's Motion and is fully
16   informed. Accordingly,
17              IT IS ORDERED that:
18              1. Defendant's Motion for Removal of Electronic Monitoring and Request to
19   Permit Travel to Report to Prison, filed July 22, 2015, ECF No. 3879, is GRANTED.
20              2. Defendant's electronic monitoring device shall be removed on July 31, 2015.
21   The Court will defer to Probation Officer Kuipers regarding the need for reporting during
22   travel.
23              The District Court Executive is directed to file this Order and provide copies to
24   counsel and to United States Probation Officer Charles J. Kuipers.
25              DATED this 28th day of July, 2015.
26
                                                    s/ Wm. Fremming Nielsen
27                                                    WM. FREMMING NIELSEN
28   07-28-15                                  SENIOR UNITED STATES DISTRICT JUDGE



     ORDER
